 

 

Case 1:20-cv-02369-RDB Document 67
Case 1:20-¢v-02369-RDB Document 64-1

ASHLY ALEXANDER, CEDRIC BISHOP,
AMY THOMAS-LAWSON, WILLIAM
GREEN, BRENDA BOLEY, MIGUEL
PADILLA, and VIC ORIA DAWKINS

On behalf of themselves individually
and similarly situated persons.

Vv.

CARRINGTON MORTGAGE SERVICES,

LLC,

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Case No, 1:20-cv-02369-RDB

 

Plaintiffs,

Defendants.

 

 

"ORDER GRANTING PLAINTIFFS’ MOTION FOR

 

FINAL APPROVAL OF CLASS ACTION SETTLEMENT

Plaintiffs Aishly Alexander, Cedric Bishop, Amy Thomas-Lawson, William Green, Brenda

Boley, Miguel Pa

Settlement Class,

dilla, and Victoria Dawkins, individually and on behalf of the proposed

! seek final approval of a proposed Settlement of claims against defendant

Carrington Mortgage Services LLC (“Carrington”). For the reasons set forth herein, the Court

GRANTS the motion.
1. BACKGROUND
Plaintiffs [commenced separate actions in aryland, California, and Florida, each

challenging Carringto

phone or online, a

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n’s practice of charging borrowers fees to make mortgage payments over the

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lleging violations of applicable state or federal laws. On July 10, 2020, Plaintiffs

 

1 Unless otherwise specifically defined herein, all capitalize

those set forth in

Kristen G. Simpli

d terms have the same meanings as
the parties’ Settlement Agreement, attached as Exhibit 1 to the Declaration of
cio (“Simplicio Decl.”), Dkt. 53-3.

 

 

 
 

 

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Ashly Alexander injtiated a class action in the Circuit Court for Baltimore County, alleging that

Carrington violated! the Maryland Consumer Debt Collection Act (““MCDCA”), the Maryland

 

Consumer Protection Act (“MCPA”), and Maryland’s usury law. Dkt. 3. Carrington removed the
case to this Court bn August 17, 2020, Dkt. 1, and, on September 8, 2020, Plaintiffs filed an
amended complaint, adding Plaintiff Cedric Bishop and an allegation that Carrington violated the
federal Fair Debt Collection Practices Act (‘FDCPA”), See Dkt. 20. Plaintiffs Amy Thomas-
Lawson, William ireen, Brenda Boley, and Miguel Padilla initiated a class action lawsuit in this
District, Case No. |: 19-cv-03567-CCB (D. Md.), which was transferred to the Central District of
California on August 13, 2020, Case No. 2:20-cv-07301-OD W(Ex) (C.D. Cal.). Plaintiffs Thomas-
Lawson, Green, Boley, and Padilla alleged that Carrington violated the FDCPA, California’s
Rosenthal Fair De t Collections Act (“Rosenthal Act”) and Unfair Competition Law UCL), the
Texas Debt Collection Act (“TDCA”), and the MCDCA and MCPA, as well as breached its
contracts with the class members. See Thomas-Lawson v. Carrington, Case No. 2:20-cv-07301-
ODW(Ex) (C.D. Cal.), ECF No. 1. And, on May 20, 2020, Plaintiff Victoria Dawkins initiated a
class action in the Souther District of Florida against Carrington, alleging violations of the Florida
Consumer Collection Practices Act (“FCCPA”) and thé Florida Deceptive Unfair Trade Practices
Act (“FDUTPA”), as well as breach of contract and unjust enrichment. See Dawkins v. Carrington,
Case No. 0:20-cv-60998-RAR (S.D. Fla.), ECF No. 1.

Before this Court in this action, Carrington moved to dismiss the amended complaint filed
by Plaintiffs Alexander and Bishop. Dkt. 24. The Court granted the motion. Dkts. 32, 33. Plaintiffs

appealed the dismissal of the MCDCA and MCPA claims, and, on January 19, 2022, the Fourth

Circuit reversed the dismissal of the claims brought under the MCDCA and reversed in part and

 
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affirmed in part the! claims brought under the MCPA. Alexander v. Carrington Mortg. Servs.,

LLC, 23 F.4th 370, 376 (4th Cir. 2022).

 

After the Parties reached the proposed Settlement, they agreed that, to preserve the
resources of the Parties and the various courts, vata claims should be consolidated and a
single Settlement Agreement considered and approved by this Court, rather than proceeding
piecemeal. Thus, in advance of this Motion, the Plaintiffs filed, with the consent of Carrington for
settlement purposes] only, the current operative Second Amended Complaint consolidating their
claims before this Court and also notified the Thomas-Lawson and Dawkins courts of the pending
Settlement. The Parties have agreed to dismiss those] cases following final approval of this
Settlement.

Plaintiffs’ counsel and Carrington’s counsel had at least three pre-mediation conferences
where the discovety and the Parties’ respective positions on the merits and damages were
discussed. The proposed Settlement was negotiated during a fourteen-hour mediation before an
experienced mediator, Jeff Kichaven. Following the mediation, the Parties continued to negotiate
the details of the Settlement before arriving at the Settlement Agreement currently before the Court
for final approval.

On July 6, 2022, this Court granted preliminary approval of the proposed settlement and
approved the issuance of notice to the Class. Dkt. 56. On September 27, 2022, Class Counsel filed
a Motion for Fees, Costs, and Service Awards. Dkt. 60./A hearing on final approval was held on
November 10, 2022.

II. SETTLEMENT TERMS

 

A. The Proposed Settlement Class

The Settlement Agreement contemplates certification of the following Settlement Class for

settlement purposes only:

 

 

 
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All persons iwho paid a fee to Carrington for| making a mortgage loan payment by
telephone, IVR, or via the internet, between January 1, 2016 through December 31, 2021
("Convenience Fees") who fall into one or more of the following groups:

(1) were borrowers on residential mortgage loans on properties located in
California, Texas, New York, Maryland, or Florida;

to which Carrington acquired servicing rights when such loans were 30 days or

(2) were borrowers on residential "che loans on properties in the United States
more delinquent on loan payment obligations; or

(3) were borrowers on residential mort age loans on properties located in the
United States insured by the Federal Housing Administration.

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The proposed Settlement Class is identical to the class definition included in the Second Amended
Complaint.

B. Benefits to the Settlement Class

The Settlement Agreement, if approved, will create a $18,181,898.65 cash common fund
and will resolve the claims of Plaintiffs and the Settlement Class Members deriving from
Carrington’s practice of charging fees for making mortgage payments by telephone, IVR, or via
the internet (“Convenience Fees”). The common fund, which represents approximately 35% of the
total Convenience Fees collected by Carrington from the Class during the class period, will provide
cash payments to Settlement Class Members, as well as Administrative Costs to provide notice
and administer the settlement, and any Fee and Expense Award and Service Awards that the Court
may approve. Settlement Class Members need not submit a claim form in order to receive
monetary compensation. Settlement Class Members who paid at least one Convenience Fee are
entitled to receive a payment of $5.00 from the Net Settlement Fund, with the remainder paid to
Settlement Class Members on a pro rata basis, based upon the amount of Convenience Fees paid
by each Settlement Class Member during the Class Period.

In addition fo the common fund, the Settlement includes valuable, prospective injunctive '

relief. As of January 1, 2022, Carrington ceased charging Convenience Fees to any borrower, while

 

 

 
 

 

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allowing borrowers to make payments by telephone, IVR or the internet for free. Carrington agrees
to refrain from the charging or collecting Convenience Fees for allowing borrowers to make
payments by telephone, IVR or the internet, for a period of at least three years after entry of the
Final Approval Order. Carrington agrees that Plaintiffs’ Lawsuits were a substantial factor in its
decision to stop charging Convenience Fees. Based on the overall amounts collected from Class
Members, the Court notes that Carrington was collecting at least an average of $8,000,000 per year
from the class in Convenience Fees.
C. Settlement Administrator and Administration Costs

The proposed Settlement Administrator is Epiq Systems, Inc. (“Epiq”), a leading class

action administration firm in the United States. Plaintiffs’ counsel obtained and reviewed proposals

 

from several prominent settlement administrators before deciding on Epiq based on overall cost

and value to the Settlement Class. The Administrative Costs will be paid from the Gross Settlement
Fund.

D. Class Member Release

Upon the Effective Date, and in consideration for the Settlement Payment and for
Carrington’s other|promises contained herein, each Settlement Class Member, for and on behalf
of their present and future spouses (and common law spouses), children, parents, relations,
successors, beneficiaries, heirs, next of kin, assigns, attorneys, executors, administrators, and/or
estate, or any and /all other persons who could claim through them, hereby unconditionally and
irrevocably remis¢s, releases, and forever discharges the Released Entities from the Released
Claims and further covenants not to sue any of the Released Entities with respect to any of the
Released Claims. 2

“Released [Claims” means any and all claims, counterclaims, actions, causes of action,

suits, set-offs, costs, losses, expenses, sums of money, accounts, reckonings, debts, charges,

 

 
 

 

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complaints, controversies, disputes, damages, judgments, executions, promises, omissions, duties,
agreements, rights, and any and all demands, obligations and liabilities, of whatever kind or
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character, direct or indirect, whether known or unknown, at law or in equity, by right of action or

otherwise, arising out of, based upon, or related in any way to the facts, allegations, disputes that

 

are the subject matter of the Lawsuits or the charging, collection, or attempted collection of
Convenience Fees from the beginning of the world to the Effective Date, which the Settlement
Class Member ever had or may have in the future.

“Released Entities” means Carrington and each of its past, present and future directors,
officers (whether acting in such capacity or individually), shareholders, advisors, owners, partners,
joint venturers, principals, trustees, creditors, law firms, attorneys, representatives, employees,
managers, parents, direct or indirect subsidiaries, divisions, subdivisions, departments, entities in
common control, affiliates, insurers, reinsurers, control persons, predecessors, and successors or
any agent acting or|purporting to act for them or on theit behalf, as well as any investor on whose
behalf Carrington services any loan to any Settlement Class Member, and each of their past,
present and future directors, officers (whether acting in such capacity or individually),

shareholders, advisors, owners, partners, joint venturers, principals, trustees, creditors, law firms,

 

attorneys, representatives employees, managers, parents, direct or indirect subsidiaries, divisions,
subdivisions, departments, entities in common control, affiliates, insurers, reinsurers, control
persons, predecessors, and successors or any agent acting or purporting to act for them or on their
behalf, and, any entity on whose behalf Carrington services any loan to any Class Member.

E. Not ice to the Settlement Class

Notice was sent to Class members pursuant to the Settlement Agreement and the Court’s
Order granting preliminary approval. The Class Notice consisted of direct notice in the form of

Postcard Notice and Email Notice, as well as a Settlement Website where Class Members could

 
 

 

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view and request to be sent the Long Form Notice. The Class Notice adequately described the
litigation and the Settlement Agreement and the procedures to opt out and object. The Notices
further explained the amount of the Settlement, the plan of allocation, Class Counsel’s intent to
apply for an award of attorneys’ fees and expenses and for Class Representative Service Awards.
Notice was also provided to state and federal officers as required by the Class Action Fairness Act,
28 U.S.C. § 1715.

F. Attorneys’ Fees and Costs and Service| Award

 

The Settlement Agreement contemplates Class Counsel petitioning the Court for an award
of attorneys’ fees, plus documented, customary costs incurred by Class Counsel. The Settlement
Agreement provides that Class Counsel may seek attorneys fees in an amount not to exceed forty
percent of the Gross Settlement Fund (40%) as well) as reasonable expenses incurred in the
litigation. Any approved Fee and Expense Award will] be paid from the Gross Settlement Fund
prior to distribution to Settlement Class Members. The Settlement Agreement also authorizes Class
Counsel to petition the Court for Service Awards of up to $5,000 each for Ashly Alexander, Cedric
Bishop, Amy Thomas-Lawson, William Green, Brenda Boley, Miguel Padilla, and Victoria
Dawkins as compensation for their time and effort in the Action. Any approved awards will be
deducted from the|Gross Settlement Fund before distribution to Settlement Class Members.

Neither final approval, nor the size of the Common Fund, are contingent upon approval of
the full amount of'requested Fee and Expense Award of Service Awards.

Il. LEGAL STANDARD FOR FINAL APPROVAL

Settlement of class actions must be approved by the Court. Fed. R. Civ. P. 23(e); In re Jiffy

Lube Sec. Litig., 927 F.2d 155, 158 (4th Cir. 1991); Whitaker v. Navy Fed. Credit Union, No.

09CV2288, 2010 WL 3928616, at *2 (D. Md. Oct. 4, 2010); McDaniels v. Westlake Servs., LLC,

No. CIV.A. ELH-11-1837, 2014 WL 556288, at *8 (D. Md. Feb. 7, 2014).
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As of December 1, 2018, Fed. R. Civ. P. 23(e) provides specific guidance to federal courts
in considering whether to grant final approval of a class action settlement. The Fed. R. Civ. P.
23(e)(2) final approval factors include whether: (A) the class representative and class counsel have

adequately represented the class; (B) the proposal was negotiated at an arm’s length; (C) the relief

 

provided is adequate, taking into account: (i) the costs, risks, and delay of trial and appeal; (ii) the

effectiveness of any proposed method of distributing relief to the class, including the method of

processing class-member claims; (iii) the terms of any proposed award of attorneys’ fees, including

timing of payment; and (iv) any agreement required to be identified under Rule 23(e)(3);” and (D)
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the proposal treats class members equitably relative to each other. Fed. R. Civ. P. 23(e)(2).

Before 2018, to determine whether a settlement meets the requirements of Fed. R. Civ. P.

23 and warrants final approval, the Fourth Circuit adopted a bifurcated analysis involving inquiries
into the fairness and adequacy of the settlement, still utilized today. Scardelletti v. Debarr, 43 F.
App’x 525, 528 (4th Cir. 2002); In re Jiffy Lube Sec. Litig., 927 F.2d at 158; Donaldson v. Primary
Residential Mortg., Inc., No. CV ELH-19-1175, 2021 WL 2187013, at *3-4 (D. Md. May 28,
2021) (citing Fed. R. Civ. P. 23(e)(2) factors and Jiffy Lube factors in assessing final approval).
In assessing|the fairness of a proposed settlement, the Court looks to the following Fourth
Circuit factors: (1) posture of the case at the time the settlement is proposed; (2) extent of discovery
that has been conducted; (3) circumstances surrounding the negotiations; and (4) experience of
counsel in the relevant area of class action litigation. Scardelletti, 43 F. App’x at 528; In re Jiffy
Lube Sec. Litig., 927 F.2d at 159; Robinson v. Nationstar Mortg. LLC, No. 8:14-CV-03667-TJS,

2020 WL 8256177, at *2 (D. Md. Dec. 11, 2020), aff'd sub nom. McAdams v. Robinson, 26 F 4th

149 (4th Cir. 2022).

 

 

 

* The Settlement Agreement is the only relevant agreement here.

 

 
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In determining the adequacy of the proposed settlement, the Fourth Circuit factors instruct

the Court to consider: (1) the relative strength of plaintiff's case on the merits; (2) existence of any

difficulties of proof |

or strong defenses plaintiff is likely to encounter if the case proceeds to trial;

(3) anticipated duration and expense of additional litigation; (4) solvency of defendant and

likelihood of recovery of a litigated judgment; and (5) degree of opposition to the

settlement. Scardell
2020 WL 8256177,
IV. FINDINGS
The Court fi
warrants final appro

1. With
Carrington’s Counsé

that the Class Repr

Settlement Class. C

etti, 43 F. App’x at 528; In re Jiffy Lube Sec. Litig., 927 F.2d at 159; Robinson,

at *2. Many of these factors overlap with the Rule 23(e) factors cited above.’

AND ORDER

inds that the Settlement Agreement is fair, reasonable, and adequate and

val under the applicable Fed. R. Civ. P. 23 and Fourth Circuit factors.

respect to the adequacy and experience of counsel, Class Counsel and
+1 are experienced in class action litigation. Moreover, it appears to the Court
resentatives and Class Counsel have adequately represented the proposed

lass Counsel are experienced and sophisticated, with years of experience in

complex class action litigation and litigation involving mortgage servicers, financial institutions,

and fees. The Class
reviewing the Settle
23(e)(2)(A) and the

2. The

experienced mediat

Representatives have also supervised the litigation by reviewing pleadings,
ment, and communicating with Class Counsel regarding the litigation. Rule

fourth fairness factor are satisfied. |

Court finds that the Settlement was negotiated at arm’s length before an

br and between experienced and sophisticated counsel. The settling Parties

 

> The Fourth Circuit has recognized that these “factors for assessing class-action settlements almost
completely overlap with the new Rule 23(e)(2) factors.” In re: Lumber Liquidators Chinese-
Manufactured Floo ing Prod. Mktg., Sales Pracs. & Prod. Liab. Litig., 952 F.3d 471, 484 n.8 (4th

Cir. 2020).

 
 

 

 

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vigorously contested motions to dismiss, contested appeals from rulings on the motions, and
engaged in formal settlement mediation with the assistance of a professional mediator. “These

adversarial encounters dispel any apprehension of collusion between the parties.” In re NeuStar,

 

Inc. Sec. Litig., No. 1:14~CV-885(JCC/TRJ), 2015 WL 5674798, at *10 (E.D. Va. Sept. 23, 2015).

The Settlement was negotiated with the assistance of Jeff Kichaven, an experienced mediator, after

extensive litigation, that enabled each side to assess the strengths and weaknesses of their claims.

 

Further, the Parties

 

did not discuss attorneys’ fees or a Service Award until after agreeing upon
the material terms f the Settlement. The Settlement satisfies Fed. R. Civ. P. 23(e)(2)(B), and the
third Jiffy Lube fairness factor.

3. AS to the posture of the case, it appears that the Settlement was reached after
significant work wa performed, including motions practice with respect to motions to dismiss and
motions to compel frbitration, as well as appeals before the Fourth and Ninth Circuits. Although
the Parties did not engage in formal discovery, it appears Carrington provided substantial informal
discovery to allow Class Counsel to intelligently evaluate the Settlement offered against the risks
and benefits of continued litigation. The provision of informal damages discovery is sufficient to
satisfy this fairness factor. In re Jiffy Lube, 927 F.2d at|159 (recognizing that informal discovery
can provide satisfactory information prior to preliminary approval). Thus, the first two fairness
factors are met: the case was sufficiently advanced and sufficient discovery was completed.

6. With regard to the adequacy of the Settlement, Fed. R. Civ. P. 23(e)(2)(C)(i), and
the first two Jiffy Lube adequacy factors focus on the relief provided, in light of (1) the strength of
the plaintiffs’ case on the merits, and (2) the existence of any difficulties of proof or strong defenses
the plaintiffs are likely to encounter if the case goes to trial. In re Jiffy Lube Sec. Litig., 927 F.2d

at 159; Fed. R. ci. P. 23(e)(2)(C)(i) (requiring evaluation of the relief provided, taking into

 

 
 

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account the costs and risks of trial and appeal). These factors weigh “how much the class sacrifices
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in settling a potentially strong case in light of how much the class gains in avoiding the uncertainty
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of a potentially difficult one.” Jn re The Mills Corp. Securities Litig., 265 F.R.D. 246, 256 (E.D.

 

 

Va. 2009). The Settlement relief is fair, reasonable, and adequate when balanced against the
probable outcome of further litigation, liability, and damages issues, and potential appeals of
rulings. The amount offered in Settlement represents approximately 35% of the total Convenience
Fees collected by Carrington from the Class during the class period, as well as significant
injunctive relief.

Although the Fourth Circuit reversed this Court’s dismissal of Plaintiff Alexander and

Bishop’s amended complaint, there are still numerous, factual and legal issues in dispute. In

 

addition, Plaintiff Thomas-Lawson, Green, Boley, and Padilla’s appeal of the dismissal of their

 

FDCPA and state law claims is still pending before the Ninth Circuit, and there are open questions
regarding whether Carrington could compel arbitration of some of the Plaintiffs’ and class
members’ claims. Plaintifis’ motion for final approval dederibes the legal issues that would remain
to be decided by this Court and the Thomas-Lawson and Dawkins courts should the settlement not
be approved, both oh the merits and at class certification,

4. Fed. R. Civ. P. 23(e)(2)(C)(i) and Jiffy Lube adequacy factor three require the Court
to consider the likely duration and expense of continued litigation. While litigation presents serious
risks at many stages, not to mention substantial expense and delay without any guarantee of
additional benefit to the Settlement Class, the Settlement provides immediate and substantial
benefits to over 442,000 Class Members.

5. Carrington appears to be solvent, so the fourth Jiffy Lube adequacy factor is neutral.

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6. The fifth Jiffy Lube adequacy factor—the degree of opposition to the settlement—
also weighs in favor of final approval. Of the around 442,000 Settlement Class Members, only
seven requested to opt-out of the Settlement, and none submitted an objection to the Settlement.

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“A small number of objections and a low opt-out rate suggest that the proposed settlement is

adequate.” Jn re Lumber Liquidators Chinese-Manufactured Flooring Prod. Mktg. Sales Pracs.,
No. 11SMD2627AJTTRI, 2018 WL 11203065, at *6 (ED. Va. Oct. 9, 2018), aff'd sub nom. In
re: Lumber Liquidators Chinese-Manufactured Flooring Prod. Mhktg., Sales Pracs. & Prod. Liab.
Litig., 952 F.3d 471 (4th Cir. 2020).

7. Finally, it appears to the Court that t e Parties’ proposed allocation of the
Settlement, and plan|for distribution is equitable and vee as required by Rule 23(e)(2)(C)(ii).

Settlement Class Members who paid at least one Conveniénce Fee are entitled to receive a payment

 

of $5.00 from the Net Settlement Fund, with the remainder paid to Settlement Class Members on
a pro rata basis, based upon the amount of Convenience Fees paid by each Settlement Class
Member during the Class Period. According to this allocation, Class Members are treated fairly as
to one another because they are compensated according to the amount of Convenience Fees they

were charged. See Fed. R. Civ. P. 23(e)(2)(D). This method is consistent with the distribution of
common funds in other fee cases. See, e.g., Lembeck v. | rvest Central Mortgage Co., Case No.
3:20-cv-03277-VC, 2021 WL 5494940 (N.D. Cal. Aug, 26, 2021) (approving settlement from
which class members would receive pro rata distributi n of common fund based on number of
fees paid); Fernandez v. Rushmore, Case No. 8:21-0vel 621-DOC-(KEXc) (C.D. Cal. Feb. 14,
2022) (same); Phillips v. Caliber Home Loans, Inc., Case No. 0:19-cv-2711 (WMW/LIB), 2022
WL 832085 (D. Minn. Mar. 21, 2022) (same). A pro rata distribution means that Settlement Class

Members who paid more Convenience Fees will receive a relatively larger share of the Settlement

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Fund, and those who paid fewer will receive less. This allocation treats Settlement Class Members

equitably.

 

8. The (Court finds that early resolution of this Action will conserve the resources of

 

the Parties and the|Court, while at the same time, the Parties have vigorously litigated the legal
issues and Carrington provided sufficient informal discovery to permit Class Counsel and the
Court to intelligently evaluate the Settlement offered against the risks and benefits of continued
litigation.

9. In addition to the Gross Settlement Fund, the Settlement includes valuable
injunctive relief that, when taken into account as additional monetary benefit to the Settlement
Class, means that the attorneys’ fees requested by Class Counsel are significantly less than 40%
of the total monetary benefit to the Settlement. The value of the injunctive relief is over $26
Million, which combined with the Gross Settlement Fund, means the total monetary value of the
Settlement is at least $44,181,898.65. The Court finds that the amount of attorneys’ fees requested
by Class Counsel, 40% of the Gross Settlement Fund and 16.5% of the total monetary benefit to
the Settlement Class, to be reasonable and aligns with other class actions where Maryland courts
have awarded attomeys’ fees. See e.g., Dickman v. Banner Life Ins. Co., No. 1:16-CV-00192-
RDB, 2020 WL 13094954, at *5 (D. Md. May 20, 2020), aff'd sub nom. 1988 Tr. for Allen Child.
Dated 8/8/88 v. Banner Life Ins. Co., 28 F.4th 513 (ath Cir. 2022) (awarding fees of 39.5% of
common fund); Singleton v. Domino's Pizza, LLC, 976 F. Supp. 2d 665, 685 (D. Md. 2013) (citing
cases, noting that courts award fees ranging from 15 10.40% in settlements under $100 million).

10. Class Counsel are entitled to reimbursement of reasonable out-of-pocket litigation

expenses. Fed. R. Civ. P. 23(h). “It is well-established that plaintiffs who are entitled to recover

attorneys’ fees ar¢ also entitled to recover reasonable litigation-related expenses as part of their

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overall award.” Kab
Md. Oct. 17, 2012).
out-of-pocket expen
in the course of pro
(internal quotations
expenses, which incl
their claim. See Dkt.
Fees, Costs, and Ser
Declaration of Jame

of Plaintiffs’ Fee, E

ore v. Anchor Staffing, Inc., No. L—-10—3204, 2012 WL 5077636, at *10 (D.
The Fourth Circuit has stated that such costs may include “those reasonable

ses incurred by the attorney which are normally charged to a fee-paying client,

viding legal services.” Spell v. McDaniel, 852 F.2d 762, 771 (4th Cir. 1988)

 

omitted). Here, Class Counsel seeks reimbursement of $15,138.96 in litigation
udes the cost of a private mediator. They have provided records that document
60-1, Declaration of Kristen G. Simplicio in Support of Plaintiffs’ Motion for
vice Awards § 42 & Dkt. 60-3, Exhibit B to Simplicio Declaration; Dkt. 60-4,
s L. Kauffman § 21; Dkt. No. 60-6, Declaration of Phillip Robinson in Support

pense, and Service Award Application § 33. The court therefore finds that

these submissions support an award of $15,138.96 in costs.

11. Servi

 

ce Awards are routinely made to class representatives in Fed. R. Civ. P. 23

class actions. See, e.g., In re Tyson Foods, Inc., No. RDB-08-1982, 2010 WL 1924012, at *4 (D.

Md. May 11, 2010). “Because a named plaintiff is an essential ingredient of any class action, an

incentive award is appropriate if it is necessary to induce an individual to participate in the suit.”

Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). To|determine whether an incentive payment

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is warranted, a court should consider “the actions the plaintiff has taken to protect the interests of
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the class, the degree to which the class has benefited from those actions, and the amount of time

and effort the plaintiff expended in pursuing the litigation.” Jd. Here, the Plaintiffs came forward

 

to represent the intprests of thousands of others, with) very little personally to gain, as their

individual alleged damages were very small. Before T during litigation, Plaintiffs had their

highly sensitive fin

ncial information regarding their mortgage agreements inspected. Plaintiffs

participated in the litigation by reviewing the complaint and other filings and making themselves

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|

available to assist with discovery. And Plaintiffs all worked with counsel to initiate separate cases,

taking the substantial risk they might, at a minimum, los¢ their case and pay the other side’s costs.

lexander, Cedric Bishop, Amy Thomas-

 

Thus, the Court approves a $5,000 award each for Ashly |
Lawson, William Green, Brenda Boley, Miguel Padilla, and Victoria Dawkins.
12. The Court confirms the certification for settlement purposes of the Settlement Class

for the reasons stated in the Preliminary Approval Order| none of which have changed.

13. The Court confirms the appointment of Ashly Alexander, Cedric Bishop, Amy

 

Thomas-Lawson, William Green, Brenda Boley, Miguel Padilla, and Victoria Dawkins as Class
Representatives.

14. The Court confirms the appointment of assan A. Zavareei, Kristen G. Simplicio,
James L. Kauffman, and Phillip Robinson as Class Counsel.

15. The Court finds that the approved Class Notice constituted the best notice

 

practicable under the circumstances and was in full co pliance with the applicable laws and the
requirements of dug process. The Court further finds that the Class Notice fully and accurately
informed the Class Members of all material elements of the proposed Settlement, of their right to
be excluded from the Settlement, and of their right and| opportunity to object to the Settlement.

The Court also finds that the Class Notice complied with the Class Action Fairness Act, 28 U.S.C.
§ 1715. |

 

15. There are no objections to the Settlement.

16. All members of the Settlement Class who timely requested exclusion are excluded

|

from the Settlement,
17. The Court confirms the cy pres recipient as NeighborWorks America and the

Maryland Consumer Rights Coalition. |

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18.

terms of the Settlement Agreement, including the releas¢

Accordingly

Settlement, it is her

1.
2.

The
The
pursuant to Rule 23
3. Ash
Boley, Miguel Padi
4, Has
Robinson Kauffmai
5. The
costs to Class Coun
6. The
Bishop, Amy Tho
Dawkins;
7.
jurisdiction over
administration, imp

8. Bas

taken by no person:

All Class Members who did not timely re

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quest exclusion are hereby bound by the

m
by a

, the Court having considered the Motion for Final Approval of Class Action

 

eby ORDERED that:

Motion is GRANTED;

proposed Settlement is approved as being fair, reasonable, and adequate
|

(€);

y Alexander, Cedric Bishop, Amy

omas-Lawson, William Green, Brenda

lla, and Victoria Dawkins are confirmed as Class Representatives;

san A. Zavareei, Kristen G. Simplicio, James L. Kauffman, and Phillip

n are confirmed as Class Counsel;

Court awards $7,272,759.46 in attomeys’ fees and $15,138.96 in reimbursed

isel;

Court approves Service Awards of $5,000 to each of Ashly Alexander, Cedric

Imas-Lawson, William Green, Brenda Boley, Miguel Padilla, and Victoria
|

Without affecting the finality of the Court’s judgment in any way, the Court retains

this matter for purposes of resolving issues related to interpretation,

ylementation, effectuation, and enforcement of the Settlement;

ed on the foregoing, the Court sets the following schedule should no appeal be

 

af aa

 

 

Awards approved

Settlement Effective Date

Settlement Administrator shall calculate the

Net Settlement Fund \ a J o 7 / a (a a
Settlement Administrator shall pay by wire

any Fee and Expense Award and Service

VALIVAVA A

by Court

 

 

Counsel final list

Settlement Administrator shall send Class
of each Settlement Class

 

 

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Member, their percentage of the Net
Settlement Fund, and their payment amount

 

check

Settlement Administrator shall email Class
Members allowing them to select digital
payment method and informing them if they
do not, their payment will be received via

afar favan

 

payments for Clas

payment option

Settlement Administrator shall effectuate

s Members who selected

digital payment option and mail checks to
Class Members who did not select the digital

\f\\fa02>

 

Settlement Administrator shall void
individual, uncashed checks

uA saoad

 

 

 

Settlement Administrator shall effectuate a
secondary distribution or administer
remaining funds to NeighborWorks America

 

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and the Maryland Consumer Rights Coalition

 

9. This Action is DISMISSED WITH PREJUDICE.

IT ISSO ORDER

ED.

Dated: Mou Fm OFA. 19, 2922

 

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(HP BLIP

Hon. Richard D. Bennett
United States District Judge

 
